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       This case arises from an alleged trade dress infringement and misappropriation of
name, likeness, or identity of the OMG Girlz brand by the entertainment and toy
company, MGA, over the L.O.L Surprise! O.M.G. dolls line. On December 22, 2020,
MGA filed a complaint against the OMG Girlz seeking declaratory judgment whether the
L.O.L. Surprise! O.M.G. dolls and associated lines of toy products infringed the
intellectual property rights of the OMG Girlz’ mark. (See Compl., Dkt. No. 1.)

      MGA is a large toy company that designs, develops, and distributes children’s
toys. (See Summary Judgment Order, Dkt. No. 326 at 2.) In 2001, MGA released the
enormously successful “Bratz” doll. (Id.) MGA CEO Isaac Larian (“Larian”) credits
MGA with having “invented diversity in dolls,” starting with the Bratz doll. (Trial Tr.
9/19/24 AM 97:12–13.)

      Tameka “Tiny” Harris is a famous singer-songwriter who formed a teenage female
vocal group called the OMG Girlz. (Trial Tr. 9/4/24 AM 33:1–2.) The core members of
the group are Zonnique Pullins, Breaunna Womack, and Bahja Rodriguez. (Id.) The
individual members of the OMG Girlz are not parties to the instant action.

       In 2016, MGA launched a collectible series of toys called L.O.L. Surprise!. (Trial
Tr. 9/11/24 AM 41:18–42:20.) The collection was a big success for MGA, quickly
becoming a top selling toy in the United States. (Id.) In 2019, MGA released a spin-off
line of fashion dolls, called L.O.L. Surprise! O.M.G. Outrageous Millennial Girls. (Trial
Tr. 9/13/24 AM 23:3–6, 25:2–26:1.)

         B.      The Lawsuit Commences

       On December 8, 2020, the Harris Parties sent a cease-and-desist letter to MGA
claiming that MGA had copied the OMG Girlz’ signature look and demanding that MGA
stop distributing the L.O.L. Surprise! O.M.G. dolls. (Dkt. No. 13; Trial Tr. 9/4/24 AM
93:21–94:8.) Immediately thereafter, MGA filed suit against the OMG Girlz in an effort
to clarify the rights of the parties. (Trial Tr. 9/19/24 PM 43:13–44:4.) On February 22,
2021, the OMG Girlz answered and filed a counterclaim alleging violations of the
Lanham Act, statutory and common law misappropriation of name or likeness, and
statutory and common law unfair competition claims. (Dkt. No. 13.)

         In July 2022, the Court granted summary judgment in favor of MGA on more than
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half of the dolls alleged to be infringing—40 dolls in total. (Summary Judgment Order
at 23, 33.) Additionally, the Court granted summary judgment in favor of MGA on the
statutory misappropriation claim, finding that the OMG Girlz did not have a claim under
Cal. Civ. Code § 3344. (Id.) Finally, the Court granted summary judgment in favor of
MGA on the unfair competition law claims. (Id.)

       On May 9, 2023, the remaining claims were tried before a jury.1 (Dkt. No. 777.)
On May 26, 2023, the jury returned a verdict in favor of MGA on both remaining causes
of action. (Id.) The jury found that the OMG Girlz had not proven that the L.O.L.
Surprise! O.M.G. doll line infringed the OMG Girlz’ asserted trade dress or
misappropriated the OMG Girlz’ name, likeness, or identity. (Id.) The Court
additionally found that MGA was entitled to declaratory relief. (Id.) On June 13, 2023,
the Court issued its judgment. (Id. at 2.)

       However, following the conclusion of that trial, the Supreme Court issued its
ruling in Jack Daniel’s Props., Inc. v. VIP Prods. LLC, 599 U.S. 140 (2023). Following
the Jack Daniel’s case, this Court held that one of the jury instructions related to the
Harrises’ trade dress claim was erroneous and granted a new trial on both of the
Harrises’ claims. (Dkt. No. 860.)

         C.        The September 2024 Trial and Jury Verdicts

       In September 2024, the third trial in this lawsuit began. (Dkt. No. 944; Trial. Tr.
9/3/24 AM.) Prior to trial, the Court ruled that any verdicts on equitable issues were to
be regarded as advisory verdicts. (Final Pretrial Conference Order, Dkt. No. 924 at 2.)
At trial, the Harrises narrowed the scope of their claim and sought disgorgement for
seven of the 32 remaining dolls. (See Trial Tr. 9/18/24 AM 7:21–23.)

      On September 23, 2024, the jury reached its verdict. (Verdict, Dkt. No. 1010.)
With regard to the Lanham Act, the jury found that the Harrises had established by a
preponderance of the evidence that MGA infringed on the OMG Girlz’ trade dress with
respect to all seven dolls: Chillax, Roller Chick, Metal Chick, Bhad Gurl, Prism, Miss
Divine, and Runaway Diva. (See id. at 2–4.) The jury found that there was no First


         1
             The first trial ended in a mistrial. The second trial began in May 2023.
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Amendment defense and that MGA’s trade dress infringement was willful. (Id. at 5.)
The jury awarded $17,872,253 as an advisory figure for damages. (Id.)

       With respect to common law misappropriation, the jury found that the OMG Girlz
had proven by a preponderance of the evidence that the dolls misappropriated the OMG
Girlz’ name, likeness, or identity. (Id. at 2.) The jury found by clear and convincing
evidence that MGA acted with oppression, fraud, or malice in this misappropriation. (Id.
at 6.) The jury awarded $17,872,253 as an advisory figure. (Id.) The jury also awarded
punitive damages of $53,616,759. (Punitive Damages Verdict, Dkt. No. 1012 at 1.)

       In deciding on MGA’s claim for declaratory relief, the jury also concluded that six
additional dolls infringed on the OMG Girlz’ trade dress and misappropriated their
name, likeness, or identity: Downtown B.B., Punk Grrrl, Virtuelle, Honeylicious, Miss
Independent, and City Babe. (Id. at 7–14.) The jury found that one doll, Shadow,
infringed on the OMG Girlz’ trade dress only, and another doll, Miss Glam,
misappropriated the OMG Girlz’ name, likeness, or identity. (Id.) The jury determined
that the following 13 dolls did not infringe on the OMG Girlz’ trade dress or
misappropriate their name, image, or likeness: Ferocious, Fame Queen, Uptown Girl,
Class Prez, Rocker Boi, Lady Diva, Sweets, Spicy Babe, Miss Royale, B-Gurl, Major
Lady, Cosmic Nova, 24K D.J., Snowlicious, Candylicious, Moonlight B.B., and Gamma
Babe. (Id.)

      On April 15, 2025, the Court denied the Harrises motion for permanent injunction
and prejudgment interest, but awarded post-judgment interest. (Permanent Injunction
Order, Dkt. No. 1113.)

         D.      The Present Motion

      The Court entered its Final Judgment on April 29, 2025. (Final Judgment, Dkt.
No. 1118.) On May 27, 2025, MGA filed the present motion requesting judgment as a
matter of law or, in the alternative, new trial or remittitur.

                                      II. LEGAL STANDARD

         A.      Renewed Judgment as a Matter of Law

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       Pursuant to Fed. R. Civ. P. 50(a), a motion for judgment as a matter of law must be
made before the case is submitted to the jury and must specify the judgment sought and
the law and facts that entitle the movant to the judgment. Fed. R. Civ. P. 50(a). If the
Court does not grant the motion, then “the court is considered to have submitted the
action to the jury subject to the court’s later deciding the legal questions raised by the
motion.” E.E.O.C. v. Go Daddy Software, Inc., 581 F.3d 951, 961 (9th Cir. 2009); Zion
v. Cty. of Orange, No. 8:14-cv-01134, 2019 U.S. Dist. LEXIS 228259, at *15 (C.D. Cal.
Apr. 17, 2019).

       A party may move to renew its motion for judgment as a matter of law under Fed.
R. Civ. P. 50(a) within twenty-eight days after the entry of judgment, or if the motion
addresses a jury issue not decided by a verdict, no later than twenty-eight days after the
jury was discharged. Fed. R. Civ. P. 50(b). It may also move in the alternative a request
for a new trial under Fed. R. Civ. P. 59. Id.

       A moving party is entitled to judgment as a matter of law if the evidence,
construed in the light most favorable to the nonmoving party, permits only one
reasonable conclusion that is contrary to the jury’s verdict. Go Daddy Software, 581
F.3d at 961. A jury’s verdict “must be upheld” if it is supported by substantial evidence,
even where it “is possible to draw a contrary conclusion.” Pavao v. Pagay, 307 F.3d 915,
918 (9th Cir. 2002). In ruling on a motion for judgment as a matter of law, the court may:
“(a) allow the judgment to stand, (b) order a new trial, or (c) direct entry of judgment as a
matter of law.” White v. Ford Motor Co., 312 F.3d 998, 1010 (9th Cir. 2002). Judgment
is appropriate “if there is no legally sufficient basis for a reasonable jury to find for that
party on that issue.” Costa v. Desert Palace, Inc., 299 F.3d 838, 859 (9th Cir. 2002).
Additionally, when making its determination, the Court cannot “make credibility
determinations” and “must disregard all evidence favorable to the moving party that the
jury is not required to believe.” Tan Lam v. City of Los Banos, 976 F.3d 986, 995 (9th
Cir. 2020) (quoting Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 159-51
(2000)).

         B.      New Trial

      Pursuant to Rule 59(a), in an action in which there has been a jury trial, a new trial
may be granted “for any reason for which a new trial has heretofore been granted in an
action at law in federal court.” Courts may grant new trials, “even though the verdict is
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supported by substantial evidence, if the verdict is contrary to the clear weight of the
evidence, or is based upon evidence which is false, or to prevent, in the sound discretion
of the trial court, a miscarriage of justice.” United States v. 4.0 Acres of Land, 175 F.3d
1133, 1139 (9th Cir. 1999) (internal quotations omitted). Authority to grant a new trial
“is confided almost entirely to the exercise of discretion on the part of the trial court.”
Allied Chem. Corp. v. Daiflon, 449 U.S. 33, 36 (1980) (per curiam). However, a trial
court may “not grant [a new trial] simply because the court would have arrived at a
different verdict.” Pavao, 307 F.3d at 918.

                                         III. DISCUSSION

         A.      Punitive Damages Award

       MGA argues that the Court should vacate the punitive damages award or, in the
alternative, order a remittitur or new trial. (Mot. at 10.) Specifically, MGA contends
that: (1) it did not act willfully, and (2) the award is excessive and violates the Due
Process Clause. (Id. at 10–14.) MGA also reiterates prior arguments that punitive
damages are not available for a claim of common law misappropriation.2

                 1.    Waiver of Punitive Damages Argument

       As an initial matter, the Harrises argue that MGA has waived its punitive damages
argument because it did not move for judgment as a matter of law on this issue before the
jury’s verdict. (Opp’n at 2.) MGA correctly notes that it is not moving for judgment as a
matter of law on punitive damages and that it did not do so at trial under Federal Rule
Civil Procedure 50(a). (Reply at 9.) Rather, MGA is requesting punitive damages relief
under Rule 59 and the Due Process Clause. Accordingly, MGA’s argument is not
waived.

                 2.    Willfulness of MGA’s Conduct



         2
         The Court will not address this argument. As MGA has respectfully noted, the Court has
already ruled on this issue and found that punitive damages are available for a claim of common law
misappropriation. (See Equitable Issues Order, Dkt. No. 1090 at 12–14.)
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       In California, punitive damages are available “where it is proven by clear and
convincing evidence that the defendant has been guilty of oppression, fraud, or malice.”
Waits v. Frito-Lay, Inc., 978 F.2d 1093, 1104 (9th Cir. 1992) (citing Cal. Civ. Code §
3294(a)). Malice is defined as despicable conduct carried out with a “willful and
conscious disregard of the rights or safety of others.” Id. Likewise, fraud requires a
finding of “intentional misrepresentation, deceit, or concealment . . . with the intention
on the part of the defendant of thereby depriving a person of property or legal rights[.]”
Cal. Civ. Code § 3294(c)(3). Finally, oppression is defined as “despicable conduct” done
with a “conscious disregard of that person’s rights.” Id. § 3294(c)(2). Thus, there must
be a finding of intent, conscious disregard, or willfulness to support punitive damages in
California.

       The Harrises argue that the evidence at trial supports a finding of willfulness.
(Opp’n at 3.) The Harrises advance three reasons why the evidence supports a finding of
willfulness: (1) lead designers’ knowledge about the OMG Girlz, (2) overlapping
markets, and (3) MGA’s lack of credibility following brazen misappropriation of other
celebrity identities. (Opp’n at 4–5.) At oral argument, the Harrises presented more
argument for why the evidence supports a finding of willfulness.

                       a.     Designers’ Knowledge

       The Harrises presented evidence at trial that lead designers, including Blanche
Consorti, knew of the OMG Girlz in December 2019, prior to the creation of all of the
infringing dolls. (Trial Tr. 9/10/24 PM 47:5–11.) Through Consorti, the Harrises
presented evidence of an email exchange where MGA employees discuss the lyrics of a
song, which they believed included a reference to the “OMG dolls.” (Id. 47:9–49:25.)
To the employees’ dismay, however, a fellow coworker notes that the song was likely a
reference to the “OMG Girlz” and not their OMG dolls. (Id.) Consorti appears to
neither confirm nor deny any prior knowledge of the OMG Girlz. (Id.) Despite this
confusion, the designers never reached out to the OMG Girlz to investigate. (Id. at 85.)

         As the Court previously found in its Equitable Issues Order:

         The email exchange and testimony tend to support a finding that some employees
         and at least one designer, Consorti, were aware of the OMG Girlz existence in

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         December 2019. However, this evidence largely fails to show that there was a
         deliberate intent to copy their trade dress upon learning of their identity.

(Equitable Issues Order, Dkt. No. 1090 at 7.)

       The Court once again agrees that this evidence is insufficient to show willfulness
or intent. At best, this evidence shows that the designers saw a passing reference to the
OMG Girlz and were negligent in not following up with the OMG Girlz having,
themselves, been momentarily confused. Yet, nothing in the email thread provides clear
and convincing evidence that Consorti or other designers knew of the OMG Girlz trade
dress or willfully made use of that knowledge to create the infringing dolls.

                       b.     Overlapping Markets

      The Harrises also presented evidence at trial that MGA’s target audience
overlapped with the OMG Girlz’ audience. (Trial Tr. 9/13/24 AM 83:6–24.) While
overlapping markets can be indicative of intentional efforts to deceive, see Playboy
Enters. v. Netscape Comms. Corp., 354 F.3d 1020, 1028 (9th Cir. 2004), it can equally
be unexceptional. In this case, the overlapping market was that of Black/African-
American mothers and Hispanic mothers. (Trial Tr. 9/13/24 AM 83:12–16.)

        This overlapping market, however, was partially explained by Mr. Larian, who
testified that he was proud that Bratz was founded with a diverse line of dolls and has
continued to sell its diverse brand of dolls well before the 2019 line of L.O.L. Surprise!
dolls. (Trial Tr. 9/19/24 AM 125:16–20.) Further, Mr. Larian explained that MGA sells
to “every girl, every nationality, [and] every color,” and that it was Bratz’ business
practice to study the reactions and preferences of different demographics for dolls. (Id.
126:19–25.) Thus, the mere coincidence that the infringing dolls appealed to some of
the same consumers that followed the OMG Girlz does not support a finding of intent to
deceive, nor a finding based on clear and convincing evidence.

                       c.     MGA’s Lack of Credibility

      The Harrises argue that MGA’s story of innocence is called into question by the
lack of credibility of its doll designers. (Opp’n at 4.) The Court has previously
described the credibility issue as follows:
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         On numerous occasions, witnesses, particularly designers, were confronted with
         dolls that appeared to copy famous celebrities. Rather than concede copying, the
         designers attempted to explain away blatantly obvious design features copied from
         real individuals.3 (See Trial Tr. 9/18/24 AM 32:5–34:14; Trial Tr. 9/19/24 AM
         61:23–62:19.)

(Equitable Issues Order at 8.)

       The Court agrees, as it now can on a motion for new trial,4 that these witnesses
lost credibility as a result of the testimony about copying other celebrities. However, the
Court still finds that while this evidence is the strongest evidence of willfulness or intent
advanced by the Harrises, it falls short of clear and convincing. Indeed, MGA conceded
to using other celebrities as inspiration for their dolls and even discussed forming
partnerships with celebrities. (See Trial Tr. 9/10/24 PM 34:21–35:4; Trial Tr. 9/18/24
PM 111:15–19; Trial Tr. 9/19/24 AM 62:11–14.) However, when it came to the OMG
Girlz, there was no reliable evidence that MGA had any knowledge of the group’s trade
dress or desire to use their likeness to create the infringing dolls. The strong appearance
that MGA copied other celebrities does not provide clear and convincing evidence that
such was the case for the OMG Girlz.

       Put together, the evidence falls short of showing willfulness, intent, or conscious
disregard with respect to MGA’s conduct. Where, as here, “the verdict is contrary to the
clear weight of the evidence” or “would result in a miscarriage of justice,” the Court has
“the right, and indeed the duty, to weigh the evidence . . . and to set aside the verdict of


         3
         For instance, during the cross of Consorti, she was asked whether a doll called “Piano King”
(who clearly looks like Elton John), copied the famous singer Elton John. (Trial Tr. 9/18/24 AM
32:16–23.) Consorti maintained that it was not a copy of Elton John. (Id.) Consorti was shown an
MGA doll called “Shimone Queen,” with one white sparkly glove, glittery black costume, large glasses,
and curly black hair (strongly resembling Michael Jackson). Yet, Consorti stated “[t]hat’s a
coincidence.” (Id. 34:1–35:4.) The same pattern was repeated with other famous celebrities such as
Lady Gaga and Audrey Hepburn. (Id.)
         4
          Unlike a Rule 50 motion, under Rule 59, the Court “can weigh the evidence and assess the
credibility of the witnesses.” See Experience Hendrix L.L.C. v. Hendrixlicensing.com Ltd, 762 F.3d
829, 845 (9th Cir. 2014).
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the jury[.]” See Fenner v. Dependable Trucking Co., Inc., 716 F.2d 598, 602 (9th Cir.
1983). Therefore, the jury’s verdict on punitive damages cannot be sustained.

                       d.     Logo Change and Infringement During Trial

       The Harrises argue that MGA’s conduct after learning about the OMG Girlz
further proves willfulness of conduct. Specifically, after the 2019 email thread where
Consorti and other designers discuss the OMG Girlz, MGA changes its logo from
“L.O.L. Surprise! O.M.G.” to include “Outrageous Millennial Girls” underneath the
O.M.G. The Harrises argue that “outrageous millennial girls” brought the infringing
dolls closer to the OMG Girlz trade dress. Further, the Harrises argue that MGA’s
continued release of infringing dolls demonstrates its intent to capitalize on the OMG
Girlz likeness and identity.

       The Court disagrees. First, as noted, there is scarce evidence that MGA was aware
of the OMG Girlz in 2019 such that they would act in a way to intentionally copy the
trade dress. Thus, it follows that the logo change in 2019 was not indicative of any
intent to copy. Second, even if there was sufficient knowledge in 2019 to show an intent
to copy, the logo change to include “outrageous millennial girls” falls far short from
demonstrating willfulness. The change in logo can equally (if not more reasonably) be
viewed as MGA distancing itself from the OMG Girlz. MGA notably did not use
“girlz”5 in its logo rework nor do the OMG Girlz claim that the OMG in their name
stands for “outrageous millennial girls.” Thus, this evidence does not support a clear and
convincing finding of willfulness or intent.

       Nor does the release of more infringing dolls support a finding of willfulness. The
Harrises argue that MGA’s continued infringement after the beginning of trial should
support a finding of willfulness. However, the release of these dolls is equally explained
by Larian and MGA’s conviction that it was not infringing on the trade dress because of
the reasonable dissimilarities in the dolls (such as skin color, clothing, style, and names).
See San Miguel Pure Foods Co., inc. v. Ramar Int’l Corp., 625 F. App’x 322, 325 (9th



         5
         And even assuming MGA did use “Girlz,” Larian testified that MGA has used the “z” in Girlz
for products dating back as far as ten years before the OMG Girlz formed.
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Cir. 2015) (“Infringement is not willful if the party reasonably believes its usage of a
trademark is not barred by law.”)

                       e.     Lora Stephens

       The Harrises next argue that Lora Stephens’ testimony demonstrates a willfulness
or intent on the part of MGA and its designers. Stephens began working with MGA in
2017 and began working as a product designer around 2019. (Trial Tr. 9/18/24 PM
116:9–21.) Stephens was aware of the OMG Girlz before she joined MGA. (Trial Tr.
9/19/24 AM 74:1–3.) Stephens also followed Tiny Harris on Instagram. (Id. at 76:23–
25.) Stephens also had an image of Breaunna Womack on her Pinterest board that she
used for inspiration to design dolls. (Id. at 86:16–18.) Finally, during her cross
examination, the Harrises were able to demonstrate that MGA had incorrectly responded
to an interrogatory when asked whether any employees knew of the OMG Girlz before
the lawsuit commenced. (Id. at 79:25–80:5.) Stephens conceded that MGA had not
asked her whether she knew of the OMG Girlz. (Id. at 83:2–3.)

       The Court finds that this evidence, too, fails to establish clear and convincing
evidence of willfulness. Just as with the 2019 email thread, Stephens’ knowledge of the
OMG Girlz does not demonstrate an intent to copy. Rather, it shows that one designer
had knowledge of the OMG Girlz while designing the infringing dolls. Further, the
evidence that MGA falsely represented an interrogatory response may create an
inference that MGA was hiding those with knowledge (as opposed to mere mistake), but
it likewise fails to show an intent to copy the trade dress. The most persuasive evidence
of an intent to copy coming from Stephens’ testimony was the evidence regarding her
Pinterest board, which had an image of Breaunna Womack on it. While the jury could
certainly have placed strong weight on this fact, the board also contained approximately
1,200 images, most of whom were Black women with various hair colors including
purple, (see id. 86:10–25.)

                       f.     CEO Isaac Larian’s Testimony and Demeanor

       Finally, the Harrises argue that MGA’s CEO Isaac Larian’s malicious demeanor at
trial demonstrated a lack of respect for the OMG Girlz trade dress. The Harrises are
correct that, at times, Larian was blunt and dismissive towards the OMG Girlz. For
instance, Larian accused them of being extortionists and hustlers (see Trial Tr. 9/19/24
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PM 51:24–52:4) and when describing the group said that their brand “ha[d] no value and
that “[t]hey are nowhere,” (id. at 111:13–22). Larian also likely lost a modicum
credibility with the jury in his steadfast conviction that MGA’s dolls didn’t share any
similarities with the OMG Girlz—particularly when juxtaposed with the similarities he
noted were obvious when it came to his company’s lawsuits against competitors.

       However, while Larian’s vituperous attitude was, at times, belittling, this does not
demonstrate that he or the designers at MGA willfully copied the trade dress or even
acted with conscious disregard. The Harrises argue that his testimony creates an
inference that his actions follow his attitude, but his testimony equally creates an
inference that he reasonably believes his dolls did not infringe and sought to protect the
reputation of his designers and company. Thus, at best, Larian’s demeanor contributes
only tepidly to the side of willfulness.

                       g.     Summary of Willfulness Evidence

       On balance, the jury’s finding of willfulness remains unsupported by the clear
weight of evidence. The 2019 email thread among the designers only tenuously
demonstrates knowledge of the OMG Girlz and entirely fails to link any such knowledge
with an intent. Further, while the Harrises established that designer Lora Stephens had
knowledge of the OMG Girlz, they failed to show a meaningful connection between that
knowledge and willful infringement. These pieces, when put together, establish just one
passing reference to the OMG Girlz in MGA internal emails and one image of a single
band member on one product designer’s Pinterest board that also contained over 1,200
similar fashion-related images. This is not clear and convincing evidence of willful
infringement or conscious disregard for the rights of others.

       With respect credibility, the Harrises were successfully able to discredit product
designer Blanche Consorti when it came to the similarities between certain dolls not at
issue and real life celebrities. The Court has noted that this evidence was perhaps the
most significant evidence of willfulness because it created an inference that if MGA was
willing to so blatantly ignore obvious similarities to other celebrities, that it might be so
inclined to do so with the OMG Girlz. However, the blatant copying of other celebrities
does not demonstrate that such was the case at hand. In order for this inference to hold
weight, it must be coupled with independently strong evidence of intent or willfulness.

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       Finally, the remaining evidence supporting willfulness can be equally explained if
not better explained by non-willful alternatives. For instance, Larian’s notably belittling
attitude towards the OMG Girlz does not provide clear and convincing evidence of
willful intent where it can equally be explained by his reasonable belief of non-
infringement and desire to product his designers reputations. (See Trial Tr. 9/19/24 AM
111:2–15.) Likewise, the overlapping markets between the OMG Girlz and the L.O.L.
Surprise! O.M.G. Dolls is unexceptional and credibly explained by the ethos of MGA as
a company founded by an Iranian immigrant seeking to develop a market for diverse
dolls sold to “every girl, every nationality, [and] every color.” (See Trial Tr. 9/19/24 AM
125:16–126:25.)

      In sum, the clear weight of evidence does not support a clear and convincing
finding of willfulness, intent, or conscious disregard of the OMG Girlz’ trade dress.

                       H.     Remedy

      Having found that the jury’s verdict on punitive damages cannot stand, an entry of
judgment on the original award of $53,616,759 would constitute a reversible error. Id. at
603. Instead, “[w]hen the court . . . determines that the damages award is excessive, it
has two alternatives. It may grant defendant’s motion for new trial or deny the motion
conditional upon the prevailing party accepting a remittitur. Id.

       “A remittitur must reflect ‘the maximum amount sustainable by the proof.’”
Oracle Corp. v. SAP AG, 765 F.3d 1081, 1094 (9th Cir. 2014). In this case, the Court
finds that the maximum punitive damages award sustainable by the proof is $1. In
assessing the evidence of MGA’s willfulness or intent, the Court finds that this amount
reflects the fair value of a punitive award for MGA’s conduct.

       At oral argument, the Harrises noted that they plan to reject remittitur and request
a new trial. The Harrises shall lodge a filing of their decision with the Court 14 days of
the issuance of this Order. If the Harrises reject remittitur, the Parties shall meet and
confer and file a joint proposed briefing schedule for the structure of a new trial.

                 3.    California Law and Due Process


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      In the alternative, MGA argues that even if punitive damages are available, the
amount awarded was improper under Cal. Civ. Code § 3294 and violates the Due
Process Clause.

                       a.     California Requirement for Actual Damages

        First, MGA argues that punitive damages are improper where there are no actual
damages. “California courts have long interpreted Section 3294 to require an award of
compensatory damages, even if nominal, to recover punitive damages.” California v.
Atlus Finance S.A., 540 F.3d 992, 1000 (9th Cir. 2008); accord Mother Cobb’s Chicken
Turnovers, Inc. v. Fox, 10 Cal. 2d 203, 205 (1937) (“Actual damages must be found as a
predicate for exemplary damages.”) However, “it is immaterial that plaintiff’s recovery
is in the form of specific restitution, rather than monetary damages.” Horn v. Guaranty
Chevrolet Motors, 270 Cal. App. 2d 477, 484 (1969); Millar v. James, 254 Cal. App. 2d
530, 533 (“[T]he fact that the plaintiff’s recovery was in the form of specific restitution,
rather than monetary damages, does not necessarily preclude an award of exemplary
damages.”)

      In this case, the Court instructed the jury that “the specific items of damages
claimed by the OMG Girlz” were “any profits that MGA received from the use of the
OMG Girlz’ name or identity or likeness. . . .” (Jury Instructions, Dkt. No. 1013 at 29.)
The jury was then instructed that if “MGA’s conduct caused the Harris Parties harm . . .,
you must decide whether that conduct justifies an award of punitive damages.” (Id. at
30.) The jury ultimately awarded $17,872,253 in damages with the understanding that
these damages reflected the profits that MGA received from the use of the OMG Girlz’
name, identity, or likeness. Therefore, punitive damages are not precluded under Cal.
Civ. Code § 3294 simply on the basis that damages were provided by restitution.

                       b.     Constitutional Limits

       In BMW of N. Am., Inc. v. Gore, the Supreme Court provided three guideposts for
determining whether a punitive damages award complies with due process: (1) the
degree of reprehensibility of the defendant’s misconduct; (2) the disparity between the
actual or potential harm suffered by the plaintiff and the punitive damages award; and (3)
the difference between the punitive damages awarded by the jury and the civil penalties.
517 U.S. 559, 575 (1996).
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                              i.     Degree of Reprehensibility

      “Reprehensibility of the alleged conduct is ‘the most important indicium of the
reasonableness’ of punitive damages.” Riley v. Volkswagen Grp. of Am., Inc., 51 F.4th
896, 902 (9th Cir. 2022) (citing State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S.
408, 419 (2003)). In the Ninth Circuit, courts consider whether (1) the harm caused was
physical as opposed to economic, (2) the tortious conduct evinced an indifference to or a
reckless disregard of the health or safety of others, (3) the target of the conduct had
financial vulnerability, (4) the conduct involved repeated actions or was an isolated
incident, and (5) the harm was the result of intentional malice, trickery, or deceit, or mere
accident. State Farm, 538 U.S. at 419.

       The jury found that MGA’s trade dress infringement was willful and found by
clear and convincing evidence that MGA acted with fraud, oppression, or malice. (Jury
Verdict at 5–6.) However, this Court has an independent obligation to consider the facts
and apply the Gore factors. See Mattel, Inc. v. MGA Enters., Inc., 801 F. Supp. 2d 950,
953 (C.D. Cal. 2011). The Court will thus independently evaluate the degree of
reprehensibility of MGA’s conduct.

       On the first factor, the Court finds that the harm was predominantly economic in
nature, leaning against reprehensibility. Indeed, there was little evidence of emotional
harm because the Court specifically precluded evidence of emotional distress damages.
(Dkt. No. 521.) Moreover, many of the “intangible harms” claimed by the
Harrises—such as sacrificing life opportunities and bleaching their hair—demonstrate
only the OMG Girlz’ desire to cultivate their trade dress and not any reprehensible
misconduct on the part of MGA.

      The second and third factors likewise weigh against a finding of reprehensibility.
There is no evidence in the record to suggest that MGA acted with indifference or
reckless disregard to the health or safety of others. Further, despite the Harrises
contention that MGA’s “money grab” theory proves economic vulnerability, the trial
record shows that the Harrises were not financially vulnerable. (See e.g., Trial Tr. 9/4/24
AM 33:14–19 (“The OMG Girlz – they made quite a bit of money.”); Trial Tr. 9/6/24
PM 67:6–16 (Mr. Harris stating “I already have money” and that he’s not here for a “big
money grab”).)

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       The fourth factor—repeated misconduct—favors reprehensibility. The jury found
that MGA infringed the OMG Girlz’ trade dress on several dolls over a period of years.
This shows repeated misconduct. In coming to this conclusion, the Court does not find
that the copying of other celebrities increases the reprehensibility of MGA’s conduct nor
does the Court find that MGA’s “money grab” trial theory demonstrate repeated
reprehensible conduct.

        The final factor weighs against reprehensibility. As the Court discussed, the
evidence does not support a finding of willfulness, intent, or conscious regard.
Likewise, the evidence does not show that MGA acted with trickery, deceit, or malice
when it infringed on the OMG Girlz’ trade dress. The only evidence suggesting that
MGA had knowledge of the OMG Girlz, as opposed to merely accidental infringement,
is a single email thread where the doll designers confused OMG Dolls with OMG Girlz.
At best, this conduct shows negligence.

         On balance, the factors tend to show that MGA’s conduct was not reprehensible.

                              ii.    Disparity Between Actual Harm and Punitive Damages
                                     Awarded

       MGA argues that there are no actual damages and thus any punitive damages
award is both disproportionate and unreasonable. (Reply at 17.) As discussed, the Court
rejects this contention and finds that the $17,872,253 serves as a form of damages
sufficient to support exemplary damages. (See Supra, Section A.3.a.)

       The Harrises note that the punitive damages award of $53,616,759 is precisely a
3:1 ratio of the award for disgorgement of profits. (Opp’n at 12.) This ratio passes
constitutional scrutiny, even for cases where “there are significant economic damages
and punitive damages are warranted but behavior is not particularly egregious. . . .” See
Planned Parenthood of Columbia/Willamette Inc. v. American Coalition of Life
Activists, 422 F.3d 949, 962 (9th Cir. 2005) (affirming that a 4:1 ratio was a good proxy
for the limits of constitutionality where the behavior was not particularly egregious);
State Farm, 538 U.S. at 419 (holding that an award within a single-digit ratio is more
likely to comport with due process).


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                              iii.    Differences Between Punitive Damages and Civil
                                      Penalties in Comparable Cases

       MGA argues that the most direct analogous statute is Cal. Civ. Code § 3344.
(Reply at 17.) Section 3344 is the statutory partner of California’s common law
misappropriation and provides a statutory minimum award of $750 to a meritorious
litigant. See Miller v. Collectors Universe, Inc., 159 Cal. App. 4th 988, 1002 (2008).

       The Court finds that § 3344 is a comparable civil penalty and favors upholding the
$53,616,759 verdict. The $750 statutory minimum was meant to provide “a simple, civil
remedy” to non-celebrities who prevailed at trial but often could not prove damages
under the common law. Id. However, it was not meant to limit litigants to $750 nor was
it meant to represent the average award for such claims. Indeed, the statute itself
provides for “the greater of [$750] . . . or the actual damages suffered by [the claimant] . .
. and any profits from the unauthorized use. . . . Punitive damages may also be awarded
to the injured party[.]” Id. at 1000 (quoting Cal Civ. Code § 3344) (emphasis added).

      Thus, under the analogous statutory regime, an award of disgorgement of profits
and a punitive damages additive would be appropriate. This Gore factor supports
upholding the $53,616,759 verdict.

                              iv.     Remittitur

      On balance, the Court finds that while MGA’s conduct was not reprehensible, the
$53,616,759 verdict is within the reasonable and proportionate constitutional ratio for
punitive damages and level with comparable civil penalties. Thus, remittitur is not
warranted under the Due Process Clause.

         B.      Common Law Misappropriation

       MGA argues that the Court should grant judgment as a matter of law on the
misappropriation counterclaim or, alternatively, grant a new trial. (Mot. at 14.)
Specifically, MGA contends that: (1) the Harrises do not have standing, (2) the First
Amendment protects its dolls, (3) there is not substantial evidence of misappropriation,
(4) there is no actual harm, and (5) any harm is not attributable to MGA’s conduct.

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                 1.    Standing

       “[S]tanding can be challenged ‘at any stage’ of the case, . . . ‘even after trial and
the entry of judgment.’” United States v. $1,106,775.00 in United States Currency, 131
F.4th 710, 719 (9th Cir. 2025). “The existence of standing turns on the facts as they
existed at the time the plaintiff filed the complaint.” Skaff v. Meridien N. Am. Beverly
Hills, LLC, 506 F.3d 832, 838 (9th Cir. 2007). However, as the litigation proceeds, the
“manner and degree of evidence required” to challenge standing will increase
accordingly. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992). “In response to a
summary judgment motion . . . [a plaintiff] must ‘set forth’ by affidavit or other evidence
‘specific facts’ . . . which for purposes of the summary judgment motion will be taken to
be true.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992) (internal quotations
and citation omitted). “[A]t the final stage, those facts (if controverted) must be
‘supported adequately by the evidence adduced at trial.’” Id. (citation omitted).

       This Court addressed standing in 2022 when it ruled on the first motion for
summary judgment. (Summary Judgment Order at 23–24.) At the time, the Court found
that the OMG Girlz had assigned their right of publicity to Grand Hustle and Pretty
Hustle, both of which were parties to the action. (Id. at 24.) MGA now argues that that a
2012 contract between the Harrises and Interscope Records superseded the assignment to
Grand Hustle and Pretty Hustle. (Mot. at 15.)

       The Court finds that the Harrises still have standing. In its Summary Judgment
Order, the Court unequivocally asserted that “[t]he Court agrees and finds that OMG
Girlz assigned their right of publicity to Grand Hustle and Pretty Hustle, both of which
are party to this action.” (Summary Judgment Order at 24.) This conclusion was not
merely a denial of MGA’s motion for summary judgment on this issue, but instead a
conclusive finding that the underlying contracts were uncontroverted and standing was




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proven as a matter of law.6 Had the Court merely found that the OMG Girlz had come
forward with controverted evidence, it would have said so.

       In reviewing the plain terms of the agreements, the 2012 contract terminated at the
expiration of the exclusive artist agreement. (Dkt. No. 148-8 at 3.) At such time, the
status of the OMG Girlz’ publicity rights reverted back to the 2011 contract between the
OMG Girlz, Grand Hustle, LLC, and Pretty Hustle LLC. (Id.; see also Dkt. No. 148-7.)
Counter-Claimaints are not aware of any other written agreements assigning intellectual
property rights. (Decl. of Mark Finkelstein (“Finkelstein Decl.”), Dkt. No. 148-3, Ex. I
(Tameka Harris Dep.), at 98–99, 123:1–18.) Accordingly, the Court finds that the
Harrises still have standing.

                 2.    First Amendment Defense

        The California Supreme Court has recognized the “tension between the right of
publicity and the First Amendment.” Comedy III Prods., Inc. v. Gary Saderup, Inc., 25
Cal. 4th 387, 396 (2001). California courts apply a test to determine “whether the new
work merely supersede[s] the objects of the original creation . . . or instead adds
something new, with a further purpose or different character.” Ross v. Roberts, 222 Cal.
App. 4th 677, 685 (2013). The central inquiry is whether the work is “transformative.”
Id. (citing Comedy III, 25 Cal. 4th at 396). A work is transformative if the “product
containing a celebrity’s likeness is so transformed that it has become primarily the
defendant’s own expression rather than the celebrity’s likeness.” Comedy III, 25 Cal.
4th at 407.

      At summary judgment, the Court concluded that it could not say “as a matter of
law” that the Dolls were sufficiently transformed. (Summary Judgment Order at 29.)


         6
          The Court agrees, however, with MGA’s position that had the Court relied on the summary
judgment standard and merely denied MGA’s motion on standing, that the Harrises would likely have
needed to prove standing with evidence at trial. See Bennett v. Spear, 520 U.S. 154, 168 (1997)
(holding that a plaintiff “must ultimately support any contested facts with evidence adduced at trial”);
Kumar v. Koester, 131 F.4th 746, 755 (9th Cir. 2025) (“In a case like this that proceeds to trial, the
specific facts set forth by the plaintiff to support standing must be supported adequately by the evidence
adduced at trial.”); Diamond Resorts U.S. Collection Dev., LLC v. Pandora Marketing, LLC, 656 F.
Supp. 3d 1073, 1083 (C.D. Cal. 2023) (same).
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Instead, the Court found that the question would be better presented to the trier of fact.
(Id.) At trial, the jury found that MGA had not proven by a preponderance of the
evidence that its dolls were protected by the First Amendment. (Jury Verdict, Dkt. No.
1010 at 5.) The jury’s finding was supported by ample trial evidence, including the
exhibits of the dolls and testimony of Harrises regarding their trade dress. 7 Further,
while MGA provided witnesses to deny any similarity between the infringing dolls and
the OMG Girlz, the jury was free to disregard these witnesses as not credible and thus
reject the First Amendment defense. Indeed, as the Court noted in its Equitable Issues
Order, on numerous occasions, MGA’s witnesses, “particularly designers,” failed to
concede to blatant copying of real life celebrities nor did these designers even attempt to
argue for a transformative use of such dolls. (See Equitable Issues Order, Dkt. No. 1090
at 8 (citing Trial Tr. 9/18/24 AM 32:5–34:14).)

       On the basis of the trial record, the jury had substantial evidence to reject the First
Amendment defense and the Court declines to exercise its discretion to grant a new trial
on this issue.

                 3.    Evidence of Misappropriation

      In California, a claim for common law misappropriation requires a plaintiff to
prove: (1) the defendant’s use of the plaintiff’s name, likeness, or identity; (2) the
misappropriation of plaintiff’s name or likeness to the defendant’s advantage,
commercially or otherwise; (3) lack of consent; and (4) resulting injury. See Newcombe
v. Adolf Coors Co., 157 F.3d 686, 692 (9th Cir. 1998). This is also known as the right of
publicity. Abdul-Jabbar v. Gen. Motors Corp., 85 F.3d 407, 413 (9th Cir. 1996).

       MGA argues that there is not sufficient evidence to support the jury’s finding that
the second element is satisfied: misappropriation of plaintiff’s identity. First, MGA
notes that the OMG Girlz inconsistently identified which dolls misappropriated their
identity. (Mot. at 19.) MGA is correct that individual band members occasionally

         7
          The Court does not agree with the Harrises that Mr. Larian “testified that MGA did not add
something new to the OMG Girlz likeness.” (See Opp’n at 13.) When asked whether MGA “started
with the OMG Girlz likeness to make the O.M.G. dolls,” Mr. Larian plainly testified “absolutely 1,000
percent no.” (Trial Tr. 9/19/24 PM 54:7–12.) This was clearly not an admission to non-transformative
use; but rather, a denial of copying at all.
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contradicted themselves. (Compare Trial Tr. 9/12/24 PM 86:21–87:17 (Ms. Pullins
stating that Ferocious and Fame Queen share her likeness) with Trial Tr. 9/12/24 AM
100:7–12 (Ms. Pullins stating that these dolls “are definitely Beyonce and Lady Gaga”).)
At times, the group contradicted one another. (Compare Trial Tr. 9/5/24 PM
103:1–104:2 (Ms. Womack stating that Roller Chick looked like Bahja Rodriguez) with
Trial Tr. 9/12/24 PM 94:20–24 (Ms. Pullins stating that Roller Chick does not look like
Ms. Rodriguez).)

       Second, MGA claims that the differences in the dolls themselves contradicts a
finding of misappropriation. Specifically, when comparing the dolls to one another, they
each have different hair lengths and textures, styles, skin tones, eye colors, outfits, and
accessories. (Mot. at 20.) As a matter of law, a plaintiff cannot continually move the
target of their identity because a “lack of stasis is inconsistent with a claim of
appropriation.” Kirby v. Sega of America, Inc., 144 Cal. App. 4th 47, 56 (2006).

       Neither of these rationales are persuasive. The jury was presented with trial
exhibits of the relevant dolls and the relevant photographs of the OMG Girlz. While
some of the infringing dolls may have had different styles and different looks, the jury
was shown exhibits of the OMG Girlz in similar styles and looks. The jury also heard
testimony from the OMG Girlz, T.I. Harris, Tiny Harris, and others, about the OMG
Girlz’ identity and likeness, including their race, the clothes they wore, the names of
their group, and the colors of their clothing and brand. To be sure, the band members
were not always consistent with their answers; but such inconsistency was a credibility
determination properly placed with the jury. Ultimately, the jury had substantial
evidence with which to find that MGA misappropriated the OMG Girlz’ identity and
thus satisfied the second element.

                 4.    Actual Harm and Resulting Injury

       A claim for common law misappropriation requires “resulting injury.” See
Newcombe, 157 F.3d at 692. “Resulting injury is the sine qua non of a cause of action
for misappropriation of name.” Silvinsky v. Watkins-Johnson Co., 221Cal. App. 3d 799,
807 (1990). The Court finds that, as a matter of law, this element has been satisfied and
the jury’s verdict is supported by the substantial weight of evidence.


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       In California, disgorgement of unjustly earned profits is permitted “regardless of
whether a defendant’s actions caused a plaintiff to directly expend his or her own
financial resources or whether a defendant’s actions directly caused the plaintiff’s
property to become less valuable.” In re Facebook, Inc. Internet Tracking Litig., 956
F.3d 589, 600 (9th Cir. 2020). Indeed, “[t]he principle of unjust enrichment . . . is
broader than mere ‘restoration’ of what the plaintiff lost.” Cty. of San Bernardino v.
Walsh, 158 Cal. App. 4th 533, 542 (2007). “Many instances of ‘liability based on unjust
enrichment . . . do not involve the restoration of anything the claimant previously
possessed . . . includ[ing] cases involving the disgorgement of profits . . . wrongfully
obtained. . . .’” Id. (alterations in original). Thus, unjust enrichment may form the basis
of a resulting injury for California right of publicity claim.8

       In this case, the jury heard evidence that MGA profited from the OMG Girlz’
name and likeness. The jury could have reasonably come to this conclusion on the basis
of several witnesses, including the OMG Girlz themselves, the designers at MGA, and
the Harrises damages expert, Christian Tregillis, who testified to profits of $17,872,253,
(see Trial Tr. 9/12/24 AM 29:20–23). Moreover, the jury heard evidence from Mr.
Larian that MGA will enter into sponsorships with famous celebrities like Paris Hilton
and Kylie Jenner. (Trial Tr. 9/5/24 PM 42:2–43:20.) Together, the jury could have
properly concluded on the basis of the evidence that MGA used the OMG Girlz name
and likeness to create infringing dolls without paying the OMG Girlz for this use.
Therefore, the Court will not award a new trial or judgment as a matter of law for failure
to show resulting damages.

                 5.    Attributable to MGA’s Conduct

       “[T]he plaintiff bears the burden of presenting proof of gross revenue attributable
to the defendant’s unauthorized use of the plaintiff’s likeness, and the defendant must
then prove its deductible expenses.” Olive v. General Nutrition Centers, Inc., 30 Cal.
App. 5th 804, 814 (2018); Lindy Pen Co. Inc. v. Bic Pen Corp, 725 F.2d 1240, 1243 (9th



         8
         See also Camacho v. Control Grp. Media Co., LLC, 2022 WL 3093306, at *28 (S.D. Cal. July
18, 2022) (noting that derivation of economic value from Plaintiff was sufficient to prove resulting
injury); Kellman v. Spokeo, Inc., 599 F. Supp. 3d 877, 889 (N.D. Cal. 2022) (same).
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Cir. 1984) (discussing the shifting burden standard for trademark infringement claims
made under 15 U.S.C. § 1117(a)).9

       In the Equitable Issues Order, the Court found that the Harrises had satisfied their
burden of presenting proof of gross revenue. (Equitable Issues Order at 14–16.) Thus,
the burden appropriately shifted to MGA to explain the lack of attributability. (Id. at
16.) The Court reviewed MGA’s arguments for 10% and 15% attributability and
ultimately found that “neither [percentage] merit[ed] an equitable reduction in
disgorgement” because neither figure could reliably discount attributability. (Id. at 17.)
While the Court noted its skepticism that MGA’s profits were 100% attributable to its
infringement, (see Equitable Issues order at 16; Permanent Injunction Order, Dkt. No.
1113 at 14 n.10), the Harrises have nevertheless satisfied their burden to show gross
revenue. Ultimately, the Harrises established common law misappropriation, showed
that many dolls were purchased because of the unauthorized use, and then satisfied their
burden with respect to gross revenue from the dolls.

         C.      Lanham Act

       MGA argues that the Court should grant judgment as a matter of law or, in the
alterative, new trial with respect to the trade dress claim. (Mot. at 23.) Specifically,
MGA argues that: (1) The OMG Girlz do not have a protectable trade dress, (2) the
Harrises did not establish secondary meaning, (3) the Harrises abandoned their trade
dress, and (4) there is no likelihood of confusion. The Court takes each argument in
turn.

                 1.    Protectable Trade Dress

       Trade dress protects “a combination of any elements in which a product is
presented to a buyer, including the shape and design of a product.” Art Attacks Ink,
LLC v. MGA Enter. Inc., 581 F.3d 1138, 1145 (9th Cir. 2009) (internal quotations and
citation omitted). Courts are instructed to consider this combination of visual elements

         9
         The Court notes that the decision in Olive is specific to claims under Cal. Civ. Code § 3344.
However, as this Court previously determined, § 3344 “complement[s]” common law misappropriation
in California. Thus, the Court finds it appropriate to adopt and implement the statutory burden shifting
approach for the common law claim.
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when “taken together,” even if some elements are separately unprotectable. Clicks
Billiards, Inc. v. Sixshooters, Inc., 251 F.3d 1252, 1258–59 (9th Cir. 2001).

                       a.     Defining Trade Dress with Specificity

      “[A] vague, broad and non-specific definition of trade dress not only makes it
impossible for a court to apply the test of distinctiveness, but also raises the danger of
overprotection, with resulting anti-competitive injury to competitors[.]” 1 McCarthy on
Trademarks and Unfair Competition § 8:3 (5th ed.). MGA argues that the OMG Girlz
defined trade dress is vague and not specific to what they claimed at trial. For the
following reasons, the Court disagrees.

       The jury heard evidence that the OMG Girlz trade dress consists of three parts: the
name (1) “OMG GIRLZ,” (2) “combinations of vibrant hair color, primarily in bright
pink, vivid purple, and shades of blue,” and (3) “experimental, fun, urban, and edge
wardrobes and makeup, layered clothing, voluminous skirts . . . and bold, over the top
clothing and accessories.” (See Mot. at 24 (citing TX 5521).) The jury also heard
testimony that this trade dress was curated over a period of 13 years and recognizable to
fans. (Trial Tr. 9/12/24 AM 93:2–95:11.)

      At trial, MGA focused on specific components of the trade dress and the band’s
evolving style to attempt to discredit it. Despite these efforts, the jury ultimately
concluded that the OMG Girlz had a protectable trade dress. (Jury Verdict at 2.) This
finding is supported by the clear weight of evidence.

                       b.     Functionality

      MGA next argues that the OMG Girlz could not have a protectable trade dress as a
matter of law where the aesthetic elements were functional. (Mot. at 24.) “Trade dress
protection extends only to design features that are nonfunctional.” Clicks Billiards, 251
F.3d at 1258. “[A]esthetic functionality has been limited to product features that serve
an aesthetic purpose wholly independent of any source-identifying function.” Au-
Tomotive Gold, Inc. v. Volkswagen of America, Inc., 457 F.3d 1062, 1073 (9th Cir.
2006) (emphasis added).


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       MGA argues that the OMG Girlz’ “ever-changing image” demonstrates that its
aesthetics were wholly independent of its source-identifying purpose. (Mot. at 25.) Yet,
the trial record contains several examples of the OMG Girlz testifying that their specific
colors and outfits were, in fact, source-identifying. (See e.g., Trial Tr. 9/4/24 AM
39:19–23; 65:16–20; 90:3–10; Trial Tr. 9/12/24 AM 93:2–10; 95:22–96:10.). The mere
fact that the OMG Girlz continued to develop their look over time does not mean that
these looks became wholly aesthetic or lost their source-identifying purpose.
Accordingly, the evidence supports a finding of non-functionality.

                       c.     Visual Use

       As noted, trade dress protects “a combination of any elements in which a product
is presented to a buyer, including the shape and design of a product.” Art Attacks Ink,
581 F.3d at 1145 (internal quotations and citation omitted). This mandate requires
examining the overall visual image of the trade dress. Id.; see also Bristol-Myers Squibb
Co. v. McNeil-P.P.C., Inc., 973 F.2d 1033, 1044 (2d Cir. 1992).

       MGA argues that the words “OMG Girlz” are not part of the overall visual
impression of the group. (Mot. at 25.) Thus, because “OMG Girlz” was a requisite to
the trade dress, the claim cannot stand. (Id.) Once again, the Court disagrees. The jury
was presented with an abundance of evidence linking the words “OMG Girlz” to the
color combinations and style of clothing. (See e.g., Trial Tr. 9/6/24 100:13–16; Trial Tr.
9/13/24 AM 93:9–24; Trial Tr. 9/18/24 AM 76:14–25.)

       MGA further argues that the OMG Girlz changing appearances defeats their trade
dress. (Mot. at 26.) At trial, the jury heard evidence that the OMG Girlz have used the
same signature colors, name, and experimental clothing for the last 13 years, including
their 2024 tour. (Trial Tr. 9/12/24 AM 93:2–12.) Thus, this argument is likewise
unavailing.

      Accordingly, the jury’s finding of trade dress is supported by the clear weight of
the evidence.

                 2.    Secondary Meaning


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       To prove trade dress infringement, the plaintiff “must show that her design has
attained secondary meaning.” Art Attacks Ink, 581 F.3d at 1145 (citing Wal-Mart
Stores, Inc. v. Samara Bros., 529 U.S. 205, 214 (2000)). “Secondary meaning can be
established in many ways, including (but not limited to) direct consumer testimony;
survey evidence; exclusivity, manner, and length of use of a mark; amount and manner
of advertising; amount of sales and number of customers; established place in the
market; and proof of intentional copying by the defendant.” Filipino Yellow Pages, Inc.
v. Asian Journal Publ’ns, Inc., 198 F.3d 1143, 1151 (9th Cir. 1999). To establish
secondary meaning, “a plaintiff must demonstrate ‘a mental recognition in buyers’ and
potential buyers’ minds that products connected with the [mark] are associated with the
same source.’” Art Attacks Ink, 581 F.3d at 1145 (citing Japan Telecom v. Japan
Telecom Am., 287 F.3d 866, 873 (9th Cir. 2002)).

      MGA argues that the Harrises failed to provide survey evidence at trial, which is
“the most persuasive evidence of secondary meaning.” (See Mot. at 28 (citing Levi
Strauss & Co. v. Blue Bell, Inc., 778 F.2d 1352, 1358 (9th Cir. 1985)).) The Harrises
respond that there was ample evidence of secondary meaning without an expert survey.
(Opp’n at 19–20.)

       The Court agrees with the Harrises that the trial record contains sufficient
evidence to show secondary meaning. The Harrises provided consumer witnesses to
testify about their recognition of the OMG Girlz’ brand. (See generally Trial Tr. 9/10/24
AM 16–19 (video depositions of M. Campbell and W. Wagner).) The Harrises also
provided evidence of consumer-made videos, press and media reports, and consumer
interviews to show secondary meaning, along with a social media survey. (See Trial Tr.
9/12/24 PM 96:16–99:23.) While this social media survey is not an expert survey, it
nonetheless received 17,000 responses out of 48,000 views. (Id. 100:24–101:3.)

       Thus, the evidence at trial is sufficient to concluded that the OMG Girlz’ trade
dress acquired secondary meaning.

                 3.    Abandonment

      “Abandonment . . . requires an intent not to resume trademark use[.]” Electro
Source, LLC v. Brandess-Kalt-Aetna Grp., Inc., 458 F.3d 931, 937 (9th Cir. 2006).
MGA briefly argues that the OMG Girlz abandoned their trade dress in 2015 when the
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group disbanded. (Mot. at 28.) The Harrises admit that the OMG Girlz band “took a
pause” in 2015 after the band broke up. (Trial Tr. 9/6/24 117:23–118:20.) Nevertheless,
the plain evidence provided at trial demonstrates that there was no intent to abandon the
trade dress. (See Trial Tr. 9/6/24 AM 100:1–8; Trial Tr. 9/5/24 PM 81:1–82:12 (Ms.
Womack testifying that the OMG Girlz maintained their social media presence, engaged
with fans, and continued singing even after their break up in 2015).) Accordingly, the
evidence does not support a finding that the OMG Girlz abandoned their trade dress in
2015.

                   4.     Likelihood of Confusion

       The likelihood of confusion is governed by the Sleekcraft 10 factors: “(1) strength
of the protected mark; (2) proximity and relatedness of the goods; (3) type of goods and
the degree of consumer care; (4) similarity of the protected mark and the allegedly
infringing mark, (5) marketing channel convergence; (6) evidence of actual consumer
confusion; (7) defendant’s intent in selecting the allegedly infringing mark; and (8)
likelihood of product expansion.” Pom Wonderful LLC v. Hubbard, 775 F.3d 1118,
1125 (9th Cir. 2014) (citation omitted).

                          a.      Strength of the Mark

      A stronger mark receives more protection under the Lanham Act. Sleekcraft, 599
F.2d at 348. A mark has both conceptual and commercial strength. JL Beverage Co.,
LLC v. Jim Bean Brands Co., 828 F.3d 1098, 1106 (9th Cir. 2016). A mark’s conceptual
strength “depends largely on the obviousness of its connection to the good or service to
which it refers.” Id. By contrast, a mark’s commercial strength is determined by its
recognition in marketplace. Entrepreneur Media, Inc. v. Smith, 279 F.3d 1135, 1144
(9th Cir. 2002). Courts classify “a mark along a spectrum of five categories ranging
from strongest to weakest: arbitrary, fanciful, suggestive, descriptive, and generic.” JL
Beverage, 828 F.3d at 1107 (citing Network Automation, Inc. v. Advanced Sys.
Concepts, Inc., 638 F.3d 1137, 1149 (9th Cir. 2011)).




         10
              AMF Inc. v. Sleekcraft Boats, 599 F.2d 341 (9th Cir. 1979).
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       MGA argues that the OMG Girlz have a weak trade dress because there is no
singular, distinctive look. As the Court explained, the OMG Girlz have a protectable
trade dress based on a signature look. (See Supra, Section C.1.) The OMG Girlz trade
dress is comprised of their name, combination of vibrant hair colors, and experimental,
fun, urban, and edgy outfits. Thus, this factor leans in favor of the Harrises.

                       b.     Proximity or Relatedness of Goods

       Where the goods bearing the two marks are related, there is a concern that the
customers may be confused as to the producer of the goods. Official Airline Guides, Inc.
v. Goss, 6 F.3d 1385, 1392 (9th Cir. 1993). Thus, where the goods are similar in use and
function, less similarity between the marks may be required. Sleekcraft, 599 F.2d at 350.
The proximity of the goods is measure by whether the products are: (1) complementary;
(2) sold to the same class of purchasers; and (3) similar in use and function. Id. A
plaintiff “need not establish that the parties are direct competitors” in order to succeed on
this factor. Rearden LLC v. Rearden Com., Inc., 683 F.3d 1190, 1212 (9th Cir. 2012).
The primary question is whether the goods or services would be “reasonably thought by
the buying public to come from the same source if sold under the same mark.”
Sleekcraft, 599 F.2d at 348 n. 10.

       In this case, the Court already determined that the Harrises and MGA are not
direct competitors. (See Preliminary Injunction Order at 11.) However, this finding was
specific to damages. The Court was noting that because there was no direct competition,
the Harrises had not missed any financial opportunities. With respect to a finding of
likelihood of confusion, a consumer could reasonably believe that the infringing L.O.L.
Surprise! O.M.G. dolls came from the OMG Girlz or, at least a sponsored partnership.
Thus, this factor leans in favor of the Harrises.

                       c.     Similarity of the Marks

       The similarity of the marks “has always been considered a critical question in the
likelihood-of-confusion analysis.” GoTo.com, Inc. v. Walt Disney Co., 202 F.3d 1199,
1205 (9th Cir. 2000). The following axioms must guide the comparison: “first, the
marks must be considered in their entirety as they appear in the marketplace; second,
similarity is adjudged in terms of appearance, sound, and meaning; and third, similarities
are weighted more heavily than differences.” Id. at 1206 (citations omitted).
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“Obviously, the greater the similarity between the two marks at issue, the greater the
likelihood of confusion.” Id.

       MGA argues that the Dolls and the OMG Girlz are dissimilar such that this factor
leans strongly against likelihood of confusion. The Court finds that the record strongly
supports a similarity between the trade dress and the infringing dolls. The jury heard and
saw evidence of the dolls with similar designs, hair color, and the “O.M.G.” logo
underneath. (Trial Tr. 9/13/24 AM 93:9–24; Trial Tr. 9/18/24 AM 76:14–25; Trial Tr.
9/19/24 AM 69:8–70:1.) Thus, the evidence shows that this factor leans in favor of
finding likelihood of confusion.

                       d.     Actual Confusion

      Evidence of actual confusion is strong evidence that future confusion is likely.
Thane Int’l Inc. v. Trek Bicycle Corp., 305 F.3d 894, 902 (9th Cir. 2002). However, a
lack of such evidence is not dispositive. Century 21 Real Estate Corp. v. Sandlin, 846
F.2d 1175, 1178 (9th Cir. 1988).

      At trial, the Harrises put forth substantial evidence of consumer confusion. This
evidence included witness testimony from four consumers, (See e.g., Trial Tr. 9/10/24
AM 34:13–35:12; Trial Tr. 9/6/24 PM), testimony from the OMG Girlz about fan
feedback, and a social media poll responded to by 17,000 people, (Trial Tr. 9/12/24 PM
100:24–101:3). Thus, the record supports a finding of actual confusion.

                       e.     Marketing Channels and Types of Goods

       “Where products bearing the marks are marketed through similar channels, there is
a greater likelihood of confusion. Official Airline Guides, 6 F.3d at 1393. To assess
coverage of marketing channels, “courts consider whether the parties’ customer bases
overlap and how the parties advertise and market their products.” Pom Wonderful, 775
F.3d at 1130. Courts also examine whether the types of goods overlap from the
perspective of a typical buyer exercising ordinary caution.” Sleekcraft, 599 F.2d at 353.

      Here, MGA and the OMG Girlz used the same marketing channels, such as
YouTube and social media, to promote their products and services. (Compare Trial Tr.
9/18/24 AM 44:25–45:2 (MGA promoting on YouTube) with Trial Tr. 9/5/24 PM
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81:19–86:25 (Ms. Womack discussing social media and YouTube outreach).) Thus, this
factor leans in favor of a finding of likelihood of confusion.

                       f.     Types of Goods and the Degree of Care Used

       “In assessing the likelihood of confusion to the public, the standard used by the
courts is the typical buyer exercising ordinary caution.” Sleekcraft, 599 F.2d at 353
(citation omitted). “When the buyer has expertise in the field, a higher standard is proper
though it will not preclude a finding that confusion is likely. Similarly, when the goods
are expensive, the buyer can be expected to exercise greater care in his purchases; again,
though, confusion may still be likely.” Id. (citations omitted). “Consumer care for
inexpensive products is expected to be quite low.” Playboy Enters., 354 F.3d at 1028.
Thus, “[l]ow consumer care . . . increases the likelihood of confusion.” Network
Automation, 638 F.3d at 1152 (citing Playboy Enters., 354 F.3d at 1028).

      Neither party sufficiently describes the level of sophistication of the relevant
purchasing population or the degree of care that would be exercised by such consumer.
Thus, this factor remains neutral or weighs slightly against a finding of confusion.

                       g.     Intent

      The intent factor generally carries minimal weight because “an intent to confuse
customers is not required for a finding of trademark infringement.” Brookfield
Commc’ns, 174 F.3d 1036, 1059 (9th Cir. 1999). However, if the defendant knowingly
adopts an infringing mark to deceive the public, courts presume that such confusion will
occur. Sleekcraft, 559 F.2d at 354. Thus, this factor favors the plaintiff “where the
alleged infringer adopted his mark with knowledge, actual or constructive, that it was
another’s trademark.” JL Beverage, 828 F.3d at 1111 (quoting Brookfield, 174 F.3d at
1059).

       As the Court has discussed at length, the evidence of intent is minimal and tenuous
in this case. (See Supra, Section A.2.) Thus, this factor weighs against finding a
likelihood of confusion.

                       h.     Likelihood of Expansion

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       “Inasmuch as a trademark owner is afforded greater protection against competing
goods, a ‘strong possibility’ that either party may expand his business to compete with
the other will weigh in favor of finding that the present use is infringing.” Sleekcraft,
559 F.2d at 354. “When goods are closely related, any expansion is likely to result in
direct competition.” Id. (citation omitted). “Where two companies are direct
competitors, this factor is unimportant.” Network Automation, 638 F.3d at 1153 (citing
Brookfield, 174 F.3d at 1060).

       The Harrises provided little if any evidence that they were intending to expand
into the doll making business. (See Trial Tr. 9/4/24 AM 48–50.) Accordingly, this
factor weighs against a finding of likelihood of confusion.

                       i.     Weighing the Factors

      On balance, the Court finds that the Sleekcraft factors weigh strongly in favor of a
finding of likelihood of confusion. The most critical factors, strength of mark, actual
confusion, and similarity, all weigh in favor of the Harrises. Accordingly, the evidence
presented at trial supports a finding that a reasonably prudent consumer is likely to be
confused as to the origin of the infringing dolls.

         D.      Claims Against Mr. Larian

       MGA argues that judgment should be entered in favor of Mr. Larian on all claims
brought against him individually because the Harrises failed to include him in the Final
Pretrial Conference Order. (Mot. at 31.) As a rule, MGA is correct that parties may not
offer evidence or advance theories at the trial which are not included in the [pretrial
order].” U.S. v. First Nat. Bank of Circle, 652 F.2d 882, 886 (9th Cir. 1981).

       However, the Pretrial Order plainly states that the “issues the Parties agree are to
be tried are . . . Counter-Claimants’ Third Amended Counterclaims[.]” (Final Pretrial
Conference Order at 1 (alterations in original).) In the Third Amended Counterclaim
(“TACC”), the Harrises asserted claims against Mr. Larian on the basis that he was
“principally responsible as the driving force for making the decisions to distribute OMG
Dolls that infringe on the OMG Girlz brand.” (TACC, Dkt. No. 63 ¶ 22.) Moreover, the
Court defined “MGA” in the Final Pretrial Conference Order to include MGA

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Entertianment, Inc. and Counter-Defendant Isaac Larian. (Id.) Thus, the Harrises claim
was within the parameters of the Final Pretrial Conference Order.

       MGA next argues that even if the claims were permissible, there was no evidence
to support a claim against Mr. Larian individually. (Mot. at 31.) Once again, the Court
disagrees. In the jury instructions, the Court was careful to explain to the jury that MGA
Entertainment and Isaac Larian are collectively referred to as “MGA.” (Jury
Instructions, Dkt. No. 1013 at 2.) At all times when explaining trade dress infringement
and misappropriation, the Court uses references to “MGA” or “MGA Parties.” (Id. at
15–24.) Finally, the jury’s verdict expressly finds that “MGA” infringed on the OMG
Girlz’ trade dress, (Jury Verdict at 5), and that “MGA” misappropriated the OMG Girlz’
name, likeness, or identity, (id. at 6).

      Accordingly, the Court denies judgment as a matter of law with respect to all
claims against Mr. Larian individually.

         E.      Declaratory Judgment

       MGA requests that the Court grant declaratory judgment in MGA’s favor as to
“the 15 Dolls for which the jury found infringement and/or misappropriation.” (Mot. at
31.) In the alternative, MGA requests that, “at minimum, the Court should enter
judgment for MGA on the eight Dolls that the jury found to infringe . . . and/or
misappropriate . . ., but for which [the Harrises] did not seek liability and ‘abandoned.’”
(Id. (alterations in original).)

      The Court declines to grant judgment as a matter of law on any of the above
mentioned dolls. First, the Harrises counterclaims were supported by substantial
evidence at trial. As discussed in this Order, there is no reason to overturn the jury’s
well-supported finding of infringement or misappropriation by granting declaratory
judgment for MGA. Thus, with respect to MGA’s argument for declaratory judgment on
the 15 infringing dolls, the Court denies the request.




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                             CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.        2:20-cv-11548-JVS-AGR                               Date   July 8, 2025
 Title           MGA Entertainment Inc. et al. v. Clifford “T.I.” Harris et al.

        Second, with respect to MGA’s request for declaratory judgment on the eight
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dolls found to be infringing or misappropriating, but which the Harrises did not seek
liability, the Court declines to grant declaratory relief for MGA. The jury’s verdict
regarding these dolls was supported by the clear weight of evidence at trial and the mere
fact that the Harrises did not seek liability does not provide sufficient reason to disturb
this verdict.

                                         IV. CONCLUSION

       For the foregoing reasons, the Court GRANTS in part and DENIES in part the
motion. With respect to punitive damages, the Court GRANTS the motion, on the
condition that the Harrises do not accept a remittitur of $1. The Harrises shall lodge a
filing of their decision with the Court within 14 days upon the issuance of this Order. If
the Harrises reject remittitur, the Parties shall meet and confer and file a joint proposed
briefing schedule for the structure of a new trial.

      Regarding the Lanham Act counterclaim and common law misappropriation
counterclaim, the Court DENIES the motion. The Court DENIES both the request for
declaratory judgment and for judgment as a matter of law for all claims against Mr.
Larian individually.

                  IT IS SO ORDERED.




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         Downtown B.B., Punk Grrrl, Virtuelle, Honeylicious, Miss Independent, City Babe, Shadow,
and Miss Glam.
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